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                    UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

RUMEYSA OZTURK,               )
                              )
          Petitioner,         )
                              )
     v.                       )          Case No. 2:25-cv-374
                              )
DONALD J. TRUMP, in his       )
official capacity as          )
President of the United       )
States; PATRICIA HYDE, in her )
official capacity as the New )
England Field Director for    )
U.S. Immigration and Customs )
Enforcement; MICHAEL KROL, in )
his official capacity as HSI )
New England Special Agent in )
Charge, U.S. Immigration and )
Customs Enforcement; TODD     )
LYONS, in his official        )
capacity as Acting Director, )
U.S. Immigration and Customs )
Enforcement; KRISTI NOEM, in )
her official capacity as      )
Secretary of the United       )
States Department of          )
Homeland Security; and MARCO )
RUBIO, in his official        )
capacity as Secretary of      )
State,                        )
                              )
          Respondents.        )

                           OPINION AND ORDER

     Petitioner Rumeysa Ozturk was arrested by United States

Immigration and Customs Enforcement (“ICE”) agents in

Massachusetts on March 25, 2025 and is currently in immigration

detention at a correctional facility in Louisiana. Ms. Ozturk

filed this habeas petition under 28 U.S.C. § 2241 against
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Respondents Donald J. Trump, Patricia Hyde, Michael Krol, Todd

Lyons, Kristi Noem, and Marco Rubio (collectively “the

government”), alleging she was arrested and detained in

violation of her First Amendment and Fifth Amendment rights and

the Administrative Procedure Act (“APA”).

     Ms. Ozturk’s original petition (the “Petition”) was filed

in the District of Massachusetts. Because Ms. Ozturk was, at the

time of the filing, detained in Vermont, the Massachusetts

district court transferred this action to the District of

Vermont pursuant to 28 U.S.C. § 1631. ECF No. 42.

     The instant matter concerns the government’s motion to

dismiss this case. The parties dispute whether this Court has

jurisdiction to grant Ms. Ozturk the relief she requests. The

matter also concerns Ms. Ozturk’s motion for an order of

immediate release pending the adjudication of her habeas claims

or, in the alternative, an order transferring Ms. Ozturk back to

the District of Vermont.

     For the reasons set forth below, the Court finds that it

has jurisdiction to consider Ms. Ozturk’s habeas petition. The

Court further finds that Ms. Ozturk has raised significant

constitutional concerns with her arrest and detention which

merit full and fair consideration in this forum. Accordingly,

the Court denies the government’s request to dismiss the

Petition and orders that Ms. Ozturk be transferred to ICE

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custody within the District of Vermont pending further hearings

on this matter.

                          Factual Background

I.   Ms. Ozturk’s Op-ed in a School Newspaper

     Ms. Ozturk and three other students coauthored a March 26,

2024 editorial in the Tufts University school newspaper, The

Tufts Daily. The editorial, which to date still appears on the

Tufts Daily website, criticized the university administration’s

dismissal of several resolutions passed by the student senate

that demanded the university acknowledge the existence of an

ongoing genocide in Palestine, apologize for statements made by

the university president, and disclose its investments in and

divest from companies with ties to Israel.

     The editorial criticized the university for

“mischaracteriz[ing]” the student senate’s stances as divisive

and stated, “[w]e, as graduate students, affirm the equal

dignity and humanity of all people[.]” Rumeysa Ozturk et al.,

Op-ed: Try again, President Kumar: Renewing calls for Tufts to

adopt March 4 TCU Senate resolutions, The Tufts Daily (Mar. 26,

2024), https://www.tuftsdaily.com/article/2024/03/4ftk27sm6jkj.

It urged the university administration “to meaningfully engage

with and actualize the resolutions passed by the Senate.” Id.

The op-ed expresses agreement between Graduate Students for

Palestine and three other campus groups, including Tufts

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Students for Justice in Palestine, about the university’s

response to the Senate resolutions. In the fall of 2024, Tufts

University temporarily suspended Tufts Students for Justice in

Palestine. Estelle Anderson, Tufts SJP disaffiliates from Tufts

after university suspends group until Jan. 2027, The Tufts Daily

(Nov. 21, 2024), https://www.tuftsdaily.com/article/

2024/11/tufts-sjp-disaffiliates-from-tufts-after-university-

suspends-group-until-jan-2027. Ms. Ozturk has not been alleged

to be a member of that group, and the suspension occurred

several months after the op-ed was published.

      In an April 1, 2025, declaration, Sunil Kumar, the Tufts

University president, attested that the opinion piece co-

authored by Ms. Ozturk “was not in violation of any Tufts

policies” and that “no complaints were filed with the University

or, to our knowledge, outside of the University about this op-

ed.” ECF No. 26-1 at 67. The declaration noted that the

newspaper also published other “op-eds on multiple sides of the

issue with opinions that were shared just as strongly as the op-

ed Ms. Ozturk co-authored.” Id.

II.   Ms. Ozturk’s Arrest and Detention

      Ms. Ozturk is a Turkish national and doctoral candidate in

Child Study and Human Development at Tufts University. ECF No.

42 at 1-3. On June 28, 2024, she entered the United States

pursuant to a validly issued F-1 student visa. Id. at 3. On

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March 21, 2025, the government revoked Ms. Ozturk’s visa,

potentially subjecting her to removal from the United States.

ECF No. 91-1 at 6. Pursuant to 8 U.S.C. § 1227(a)(1)(B), “[a]ny

alien who is present in the United States . . . whose

nonimmigrant visa (or other documentation authorizing admission

into the United States as a nonimmigrant) has been revoked under

section 1201(i) of this title, is deportable.”

     Prior to her arrest, ICE determined that it would take Ms.

Ozturk to a detention facility in Louisiana. According to ICE,

“there was no available bedspace for [her] at a facility where

she could appear for a hearing” in New England and “[t]ransfers

out of state . . . are routinely conducted after arrest, due to

operational necessity and considerations.” ECF No. 19-1. Ms.

Ozturk has submitted affidavits from several experienced New

England immigration attorneys stating that immigration detainees

are typically booked and processed at the ICE Boston Field

Office in Burlington, Massachusetts before being sent to a

detention facility. ECF Nos. 26-3, 26-4, 26-6. She also

submitted an affidavit from an experienced Maine immigration

attorney stating that based on the attorney’s review of records

from the Cumberland County Jail, the facility had at least

sixteen open beds to house female detainees on March 25 and 26,

2025. ECF No. 26-5 at 3



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     Ms. Ozturk was not notified promptly of her student visa’s

revocation. On March 25, 2025, at approximately 5:25 p.m., Ms.

Ozturk was near her residence in Somerville, Massachusetts when

a hooded and masked officer in plainclothes approached her and

grabbed her wrists. ECF No. 42 at 3. Five additional officers

then surrounded her, took her cell phone, and handcuffed her.

Ms. Ozturk was driven away in an unmarked vehicle. Id.

     ICE agents took Ms. Ozturk to Methuen, Massachusetts,

arriving at 6:22 p.m. that day. ECF No. 19-1 at 2. Shortly

thereafter, the agents and Ms. Ozturk departed for Lebanon, New

Hampshire. Id. At approximately 9:03 p.m., ICE agents began

transporting Ms. Ozturk to the ICE Field Office in St. Albans,

Vermont. Id. At approximately 10:02 p.m. on March 25, 2025,

having been unable to speak to Ms. Ozturk or otherwise ascertain

her location after attempting to do so, Ms. Ozturk’s counsel

filed a habeas petition in the District of Massachusetts. ECF

No. 42 at 4. At that time, Ms. Ozturk was in Vermont en route to

the St. Albans Field Office.

     At approximately 10:55 p.m. that night, the District of

Massachusetts court ordered that Ms. Ozturk “shall not be moved

outside the District of Massachusetts without first providing

advance notice of the intended move.” ECF No. 3 at 2; ECF No. 42

at 5. The order stated that “[s]uch notice shall be filed in

writing on the docket in this proceeding, and shall state the

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reason why the government believes that such a movement is

necessary and should not be stayed pending further court

proceedings.” ECF No. 3 at 2. The order noted that “[i]n order

to give the court an opportunity to consider whether it has

subject-matter jurisdiction, and if so to determine the validity

of the habeas petition, the court may order [the] respondent to

preserve the status quo.” Id.

     Both the Petition and the order were transmitted to the

United States Attorney’s Office on the night of March 25, 2025.

ECF No. 26-2 at 2-3. When asked at oral argument about the

government’s knowledge of the order when it was issued, its

counsel stated, “I don’t know who learned about that order and

when. . . . I’m not able to speak to the factual flow of

information.” ECF No. 98 at 37.

     Ms. Ozturk arrived at the St. Albans Field Office at 10:28

p.m. on March 25, 2025 and was kept in custody there overnight.

ECF No. 19-1 at 2. On the morning of March 26, 2025, at

approximately 4:00 a.m., ICE agents transported Ms. Ozturk to

the Burlington, Vermont airport and placed her on a plane to

Louisiana. Id. at 3. Ms. Ozturk arrived in Alexandria, Louisiana

at 2:35 p.m. and was taken to the South Louisiana Correctional

Facility, where she is presently detained. Id.

     Between the evening of March 25, 2025 and the afternoon of

March 26, 2025, Ms. Ozturk’s counsel repeatedly attempted to

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ascertain her location, to no avail. ECF No. 26-2 at 3. Although

Ms. Ozturk’s attorney checked ICE’s Detainee Locator System

online several times, the “current detention facility” section

was blank. Id. Counsel’s inquiries about Ms. Ozturk’s location

to ICE’s Enforcement and Removal Operations (“ERO”) division in

Burlington, Massachusetts and Homeland Security Investigations

(“HSI”) in Boston, Massachusetts went unanswered. Id.

     When a representative of the Turkish consulate went in

person to ICE offices in Burlington, Massachusetts on March 26

to inquire about Ms. Ozturk’s whereabouts, the representative

was told that ICE did not have information about where she was.

Id. Ms. Ozturk’s counsel also called Rayford Farquhar, the Chief

of Defensive Litigation in the Civil Division at the United

States Attorney’s Office in the District of Massachusetts and

emailed Assistant United States Attorney Mark Sauter on the

morning of March 26 to ask about Ms. Ozturk’s location and

notify them that her asthma medication was not with her when she

was detained. Mr. Farquahar and Mr. Sauter both responded that

they did not know Ms. Ozturk’s location. Id. Ms. Ozturk’s

counsel emailed them again in the early afternoon of May 26, and

Mr. Sauter responded that he was still attempting to obtain

information about Ms. Ozturk’s whereabouts. Id. at 3-4.

     That afternoon, Ms. Ozturk’s counsel filed an emergency

motion asking the District of Massachusetts court to order the

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government to disclose Ms. Ozturk’s location and permit her to

speak to her attorney. ECF No. 42 at 6. The motion noted that

counsel had just been informed by a U.S. Senator’s office that

Ms. Ozturk was in Louisiana but had not received confirmation of

her location from ICE or the government’s counsel. Id. At

approximately 3:27 p.m., Mr. Sauter told Ms. Ozturk’s counsel

that ICE had informed him that she was transferred to Louisiana

that morning and was en route to a detention facility. ECF No.

26-2 at 4. Mr. Sauter’s email stated, “I continue to ask ICE for

the detention facility that she will be placed and that she be

permitted to contact you.” Id. (internal quotation marks

omitted). After Mr. Sauter and Ms. Ozturk’s counsel exchanged

several more emails, Ms. Ozturk spoke to her attorney at 9:45

p.m. on March 26, more than 24 hours after her arrest. Id. at 5.

III. Ms. Ozturk’s Revocation and Removal Proceedings

     According to a memorandum by John L. Armstrong (hereinafter

“Armstrong Memorandum”), a senior bureau official of the Bureau

of Consular Affairs, the Bureau of Consular Affairs had approved

revocation of Ms. Ozturk’s F-1 visa pursuant to a request from

ICE and the Department of Homeland Security (“DHS”) on March 21,

2025. ECF No. 91-1 at 6. According to the memo, ICE and DHS had

made an assessment that Ms. Ozturk “had been involved in

associations that ‘may undermine U.S. foreign policy by creating

a hostile environment for Jewish students and indicating support

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for a designated terrorist organization’ including co-

authorizing an op-ed that found common cause with an

organization that was later temporarily banned from campus. . .

.” Id. The memo also noted, “[d]ue to ongoing ICE operational

security, this revocation will be silent; the Department of

State will not notify the subject of the revocation.” Id.

     Ms. Ozturk was served with a Notice to Appear (“NTA”) on

March 25, 2025, while in custody. ECF No. 19-1 at 3. The NTA

cites Section 237(a)(1)(B) of the Immigration and Nationality

Act (“INA”), which applies to individuals whose nonimmigrant

visas have been revoked, as the basis for her removal. ECF No.

12-2; 8 U.S.C. § 1227(a)(1)(B). A March 25, 2025 letter, which

was addressed to Ms. Ozturk but not provided to her prior to her

arrest, also cites the INA provision codified at 8 U.S.C. §

1227(a)(4)(C)(i) as a possible basis for termination of her

Student Exchange Visitor Information System (“SEVIS”)

designation. ECF No. 42 at 7. This provision states that “[a]n

alien whose presence or activities in the United States the

Secretary of State has reasonable ground to believe would have

potentially serious adverse foreign policy consequences for the

United States is deportable.” 8 U.S.C. § 1227(a)(4)(C)(i).

     The government has not represented that revocation of Ms.

Ozturk’s visa was based on 8 U.S.C. § 1227(a)(4)(C)(i). In its

briefing, the government acknowledges that the “statute is

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mentioned [in the March 25, 2025 letter] as one of two possible

reasons why Petitioner’s SEVIS record was terminated” but states

“that data entry into a DHS information system is not a State

Department record, and does not speak for the State Department.”

ECF No. 83 at 21 n.5.

      The NTA ordered Ms. Ozturk to appear before an immigration

judge in Louisiana on April 7, 2025, although that hearing was

later canceled. ECF No. 66 at 22. On April 14, 2025, Ms. Ozturk

submitted a request for a bond hearing in immigration court. On

April 16, 2025, an immigration judge denied her request for a

change in custody status and provided “Danger and Flight Risk”

as the rationale. ECF No. 101-1 at 4.

IV.   The Pending Proceedings

      Ms. Ozturk filed an amended petition and complaint on March

28, 2025. ECF No. 12. The same day, the Massachusetts district

court ordered Ms. Ozturk not to be removed from the United

States until further order of the court and ordered the

government to file a response by April 1, 2025. ECF No. 16. The

government timely filed a response, and Ms. Ozturk filed her

reply on April 2, 2025. ECF Nos. 19, 26. On April 3, 2025, the

District of Massachusetts held a hearing on the amended

petition. ECF No. 41.

      On April 4, 2025, the Massachusetts district court denied

the government’s motion to dismiss the petition and its

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alternative request to transfer the matter to the Western

District of Louisiana. The court instead transferred the case to

the District of Vermont “in the interest of justice” pursuant to

28 U.S.C. § 1631.

     At a status conference on April 7, 2025, this Court ordered

the parties to submit supplemental briefing citing Second

Circuit law on their jurisdictional arguments. ECF No. 60. On

April 10, 2025, Ms. Ozturk filed a supplemental memorandum on

the jurisdictional issues as well as a motion for her release,

or in the alternative, a motion to return her to the District of

Vermont. ECF Nos. 81, 82. The government filed its supplemental

briefing in opposition on these issues. ECF Nos. 83, 84. The

Court heard oral argument from the parties on April 14, 2025 and

took the matter under advisement.

                               Discussion

     Pending before the Court is Ms. Ozturk’s habeas corpus

petition and the government’s request for the petition to be

dismissed. As a threshold matter, Ms. Ozturk argues that the

District of Vermont has jurisdiction and is the proper court

after the District of Massachusetts’ transfer pursuant to 28

U.S.C. § 1631. The government argues that § 1631 cannot supply

this Court with jurisdiction and that the petition should be

dismissed because the proper forum is the Western District of

Louisiana, where Ms. Ozturk is currently confined. The parties

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also dispute whether certain provisions of the INA bar review of

Ms. Ozturk’s habeas claims.

     Ms. Ozturk’s substantive constitutional claims center on

alleged violations of her First and Fifth Amendment rights. In

support of her First Amendment claim, she has submitted evidence

to show that the actions against her were retaliatory, as the

only identifiable conduct supporting her detention is her co-

authoring of a Tufts University op-ed. The government has

submitted no evidence to counter her First Amendment claim. Ms.

Ozturk’s Fifth Amendment claim asserts due process violations.

Finally, Ms. Ozturk requests immediate release on bail pending

the outcome of the habeas review, while the government argues

that bail or bond can only be sought from an immigration judge.

In the alternative, Ms. Ozturk requests she be returned to

custody in Vermont where she can work with counsel to prepare

her legal claims. The Court will first address the

jurisdictional questions.

I.   Habeas Corpus Jurisdiction

     A. Legal Standards

     Ms. Ozturk filed her habeas petition pursuant to 28 U.S.C.

§ 2241. Generally, “[w]henever a § 2241 habeas petitioner seeks

to challenge his present physical custody within the United

States, he should name his warden as respondent and file the

petition in the district of confinement.” Rumsfeld v. Padilla,

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542 U.S. 426, 447 (2004). This rule is “derived from the terms

of the habeas statute,” id., which only permits district courts

to grant habeas relief “within their respective jurisdictions,”

28 U.S.C. § 2241(a).

     The federal habeas statute further states that a petition

must allege “the name of the person who has custody over him.”

28 U.S.C. § 2242; see 28 U.S.C. § 2243 (“The writ, or order to

show cause shall be directed to the person having custody of the

person detained.”). The Supreme Court has interpreted this

statutory language as requiring the petitioner to name as the

respondent her “immediate custodian[,]” who, “[b]y

definition . . . reside[s] in the same district” as the

petitioner. Padilla, 542 U.S. at 444. “[T]he default rule is

that the proper respondent is the warden of the facility where

the prisoner is being held, not the Attorney General or some

other remote supervisory official.” Id. at 435. These

jurisdictional rules for habeas petitions do not implicate the

Court’s subject-matter jurisdiction and are treated functionally

as matters of personal jurisdiction or venue. See id. at 434 n.7

(explaining that the Court uses the word “‘jurisdiction . . . in

the sense that it is used in the habeas statute, 28 U.S.C. §

2241(a), and not in the sense of subject-matter jurisdiction of

the District Court”); id. at 451 (Kennedy, J., concurring) (“In

my view, the question of the proper location for a habeas

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petition is best understood as a question of personal

jurisdiction or venue.”).

     Because Ms. Ozturk was in Vermont when her counsel filed

the pending habeas petition in the District of Massachusetts,

the petition was not filed in her district of confinement. Nor

did it name her immediate custodian (who presumptively would

have been in the District of Vermont). The government argues

that the § 1631 transfer by the District of Massachusetts is

insufficient to cure these jurisdictional defects, and that the

only forum where Ms. Ozturk’s petition may properly be brought

is the Western District of Louisiana. The Court therefore

addresses, in turn, (1) whether the District of Massachusetts §

1631 transfer was proper, (2) whether the § 1631 transfer cures

the original petition’s failure to comply with the district of

confinement rule, and (3) whether this Court has jurisdiction

despite the petition’s alleged failure to identify any immediate

custodian.

     B. The Section 1631 Transfer

     Under 28 U.S.C. § 1631:

     [w]henever a civil action is filed in a court as
     defined in section 610 of this title or an appeal,
     including a petition for review of administrative
     action, is noticed for or filed with such a court and
     that court finds that there is a want of jurisdiction,
     the court shall, if it is in the interest of justice,
     transfer such action or appeal to any other such court
     (or, for cases within the jurisdiction of the United
     States Tax Court, to that court) in which the action

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     or appeal could have been brought at the time it was
     filed or noticed, and the action or appeal shall
     proceed as if it had been filed in or noticed for the
     court to which it is transferred on the date upon
     which it was actually filed in or noticed for the
     court from which it is transferred.
     It is well-established in the Second Circuit that habeas

petitions may be transferred under § 1631. See, e.g., Liriano v.

United States, 95 F.3d 119, 123 (2d Cir. 1996) (holding that

when a second or successive petition for habeas corpus is filed

in district court without the requisite authorization of the

Second Circuit, “the district court should transfer the petition

or motion to this Court in the interest of justice pursuant to §

1631”); Zhen Yi Guo v. Napolitano, 2009 WL 2840400, at *6

(S.D.N.Y. Sept. 2, 2009) (“Courts have consistently found it in

the interest of justice to transfer habeas petitions when

jurisdiction is lacking.” (quoting Shehnaz v. Ashcroft, 2004 WL

2378371, at *4 (S.D.N.Y. Oct. 25, 2004))). “When considering

whether a transfer would serve the interest of justice, [the

Court] must weigh ‘the equities of dismissing a claim when it

could be transferred.’” Ruiz v. Mukasey, 552 F.3d 269, 276 (2d

Cir. 2009) (quoting Liriano, 95 F.3d at 122). Relevant equities

include whether the petitioner acted in good faith and whether a

transfer would “expedite [] review, thereby furthering the

interest of justice.” Id.

     In this case, the government does not dispute that this

petition “could have been brought” in the District of Vermont

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“at the time it was filed[.]” 28 U.S.C. § 1631; see ECF No. 19

at 27 (“It is true that at the time Petitioner’s original

petition was filed, it could have been properly filed in Vermont

as that is where she was then in custody.”). Ms. Ozturk acted in

good faith when she originally filed the petition in

Massachusetts, and transfer expedited review because Ms. Ozturk

would otherwise have needed to spend time refiling the petition.

Because Ms. Ozturk’s petition could have been brought in this

Court at the time it was filed and the record supports that the

equities weighed in favor of transfer, the Massachusetts

district court’s decision to transfer the petition to this Court

complied with the requirements for transfer under § 1631. Cf.

U.S. Bank Nat’l Ass’n v. Bank of Am. N.A., 916 F.3d 143, 152 (2d

Cir. 2019) (noting the Supreme Court’s “sagacious warning” that

“‘[t]ransferee courts that feel entirely free to revisit

transfer decisions of a coordinate court threaten to send

litigants into a vicious circle of litigation,’ culminating in a

‘perpetual game of jurisdictional ping-pong.’” (quoting

Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816,

818 (1988))).

     C. The District of Confinement Rule

     Ms. Ozturk argues that because a case transferred under §

1631 “shall proceed as if it had been filed in or noticed for

the court to which it is transferred on the date upon which it

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was actually filed in[,]” the Court should treat her petition as

if it had been filed in the District of Vermont at approximately

10:02 p.m. on March 25, 2025, in which case it would have been

filed in her district of confinement. 28 U.S.C. § 1631. The

government contends that Ms. Ozturk cannot “use § 1631 to vest

this Court with authority that it otherwise would lack by way of

statute” and that “[n]othing in § 1631 allows a district court

to somehow blow past” § 2241’s statutory requirements “based on

the fiction that the suit was properly before it.” ECF No. 83 at

14-15.

     The government does not cite any authority holding that §

1631 cannot cure a habeas petitioner’s failure to file a

petition in the correct district. Other courts have found

transfer under § 1631 to be proper where a habeas petition was

not originally filed in the district of confinement. See, e.g.,

Abraham v. Decker, 2018 WL 3387695, at *3 (E.D.N.Y. July 12,

2018) (transferring habeas petition under § 1631 because

petitioner’s immediate custodian was in New Jersey, not New

York); Golding v. Sessions, 2018 WL 6444400, at *3 (S.D.N.Y.

Dec. 6, 2018) (same). Additionally, “[t]he legislative history

of § 1631 indicates that ‘Congress contemplated that the

provision would aid litigants who were confused about the proper

forum for review.’” Liriano, 95 F.3d at 122. Ms. Ozturk’s filing

of her habeas petition in the District of Massachusetts because

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her counsel did not know her location — in other words, her

confusion about the proper forum for review — is thus exactly

the kind of jurisdictional defect § 1631 was designed to cure.

     The government cites De Ping Wang v. Department of Homeland

Security, 484 F.3d 615 (2d Cir. 2007) for the proposition that

“[t]he Second Circuit has held that, while § 1631 allows a

transferee court to proceed as if the case had been filed on a

certain date, § 1631 does not allow courts to ignore other facts

and substantive limits on jurisdiction.” ECF No. 83 at 15. That

case, however, is readily distinguishable. In De Ping Wang, the

Second Circuit found that transfer under 28 U.S.C. § 1631 was

improper because, even if the action in that case were correctly

filed in the transferee court on the same date it was mistakenly

filed in transferor, it would still have been untimely. 484 F.3d

at 617-18. In contrast, filing Ms. Ozturk’s petition in the

District of Vermont on the same date it was filed in the

District of Massachusetts would have satisfied the

jurisdictional requirement that she file in her district of

confinement.

     A New Jersey federal court recently found transfer under §

1631 to support habeas jurisdiction under similar circumstances.

Khalil v. Joyce, 2025 WL 972959, at *15 (D.N.J. Apr. 1, 2025).

In Khalil, the habeas petitioner was arrested by federal

officials in Manhattan but was being held in a New Jersey

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facility when he filed his petition. Id. at *1. Finding that it

lacked jurisdiction, the Manhattan district court transferred

the petition to the District of New Jersey. In finding that it

had habeas jurisdiction to proceed upon the case’s transfer, the

District of New Jersey court reasoned that according to the

clear language of § 1631, it must treat the case as if it had

been filed in New Jersey on the same date it was filed in New

York. The court concluded that because “[a]t that moment, the

Petitioner was in New Jersey . . . there is no missing piece of

the jurisdictional puzzle[,]” and thus “the Petition counts as

having been in New Jersey at the same moment the Petitioner was

here.” Id. at *15.

     This Court comes to the same conclusion here. At

approximately 10:02 p.m. on March 25, 2025, the moment Ms.

Ozturk filed her habeas petition, she was detained in Vermont.

Accordingly, for this action to “proceed as if it had been filed

in or noticed for the court to which it [was] transferred on the

date upon which it was actually filed[,]” the case must proceed

as if it were filed in the District of Vermont while Ms. Ozturk

was detained here, in which case the district of confinement

rule would have been satisfied. 28 U.S.C. § 1631.

     The government further argues that Ms. Ozturk’s present

detention in Louisiana prevents the District of Vermont from

exercising habeas jurisdiction. Section § 2241(a) provides that

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district courts may only grant a writ of habeas corpus “within

their respective jurisdictions[,]” and although Ms. Ozturk was

in this jurisdiction at the time her petition was filed, she is

no longer in the District of Vermont. Ms. Ozturk asserts that

the District of Vermont has jurisdiction notwithstanding her

transfer to Louisiana based on Ex parte Endo, 323 U.S. 283

(1944).

     In Ex parte Endo, the Supreme Court recognized an exception

to the general rule that a district court only has power to

grant habeas relief when the petitioner is being held within its

jurisdiction. The Endo petitioner was a Japanese-American

citizen who was interned by the government during World War II.

323 U.S. at 284-85. The petitioner filed a habeas petition in a

California district court while detained in that district and,

while appealing the petition’s denial, was transferred to a

detention center in Utah. Id. The Supreme Court held that the

petitioner’s transfer to Utah after the California district

court “acquired jurisdiction in this case” did not “cause it to

lose jurisdiction where a person in whose custody [the

petitioner] is remains within the district.” Id. at 306. In

Padilla, the Supreme Court recognized that,

     Endo stands for the important but limited proposition
     that when the Government moves a habeas petitioner
     after she properly files a petition naming her
     immediate custodian, the District Court retains
     jurisdiction and may direct the writ to any respondent

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     within its jurisdiction who has legal authority to
     effectuate the prisoner's release.
542 U.S. at 441.

     The government argues that Ex parte Endo does not apply

because, in this case, Ms. Ozturk “never properly filed her

habeas petition” in the District of Vermont and thus this Court

had not acquired jurisdiction prior to her transfer to a

different district. ECF No. 83 at 9 n.2. The plain language of

the transfer statute, however, states that the transferred

action “shall proceed as if it had been filed” in the transferee

court on the same date it was filed in the transferor court. 28

U.S.C. § 1631 (emphasis added); see Jimenez v. Quarterman, 555

U.S. 113, 118 (2009) (“[W]hen the statutory language is plain,

we must enforce it according to its terms.”).

     Had Ms. Ozturk filed her habeas petition in the District of

Vermont on March 25, 2025, the holding of Ex parte Endo would

squarely apply. The District of Vermont would have acquired

jurisdiction on that date, and Ms. Ozturk’s transfer to

Louisiana would not have stripped the Court of its jurisdiction

because a respondent with the power to effectuate Ms. Ozturk’s

release remains within the reach of the District of Vermont. See

Henderson v. I.N.S., 157 F.3d 106, 125 (2d Cir. 1998) (noting

that there is “no question that the Attorney General has the

power to produce the petitioners” in case brought by legal

permanent residents who were ordered deported).

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     D. The Immediate Custodian Rule

     Even if this Court allows Ms. Ozturk’s petition to proceed

as if it had been filed on March 25, 2025, in the District of

Vermont, the question remains of whether the Court could not

have properly acquired jurisdiction on that date because the

petition may have failed to name Ms. Ozturk’s immediate

custodian as a respondent.

     The government contends that “Petitioner named improper

respondents in her original petition because she named

supervisory officials, rather than her immediate custodian in

Vermont when the petition was filed.” ECF No. 83 at 10. Of the

supervisory officials named in the Petition, the one closest to

Vermont was Ms. Hyde, the acting ICE Field Office director for

New England. When presented with the question of whether an ICE

Field Office director was the correct respondent in a habeas

petition, other district courts in the Second Circuit have held

that the correct custodian was instead the warden of the local

facility where the petitioner was being held. See Sanchez v.

Decker, 2019 WL 6311955, at *4 (S.D.N.Y. Nov. 25, 2019) (finding

that the warden of the county correctional facility where

petitioner was held, rather than the director of ICE’s New York

City Field Office, was the immediate custodian); see also Lemus-

Pineda v. Whittaker, 354 F. Supp. 3d 473, 475 (S.D.N.Y. 2018)



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(holding that county jail warden, rather than ICE field office

director, was proper respondent).

     In this case, however, Ms. Ozturk was not at a prison or

jail when the Petition was filed – she was in a vehicle being

transported to an ICE Field Office. There is no “warden” that

Ms. Ozturk could have named. It is also not apparent to the

Court that Ms. Hyde was not functionally the immediate custodian

in that moment. Presumably a call from Ms. Hyde to a subordinate

may have actually freed Ms. Ozturk, just as a call from a warden

to a correctional officer may actually free a prisoner. At oral

argument, government’s counsel could not identify who that

immediate custodian would have been if not Ms. Hyde. ECF No. 98

at 30. Because the government has provided insufficient facts to

determine that Ms. Hyde was not Ms. Ozturk’s immediate

custodian, the Court will not dismiss her petition on that

basis.

     Regardless of whether Ms. Hyde was the immediate custodian,

Ms. Ozturk argues that this case falls within an exception to

the immediate custodian rule because her custodian was unknown

at the time of the Petition’s filing. The unknown custodian

exception arises from Demjanjuk v. Meese, 784 F.2d 1114 (D.C.

Cir. 1986), in which a habeas petitioner was held by the United

States in a confidential location at the time he filed his

petition. The D.C. Circuit thus ruled that “in these very

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limited and special circumstances,” it would consider the

Attorney General of the United States the appropriate custodian.

784 F.2d at 1116. In Padilla, the Supreme Court recognized this

exception by noting that although “[w]hen, as in [Demjanjuk], a

prisoner is held in an undisclosed location by an unknown

custodian, it is impossible to apply the immediate custodian and

district of confinement rules[,]” that was not the case in

Padilla. 542 U.S. at 450 n.18.

     In Khalil, the New Jersey district court found that this

exception applied where, at the time of filing the petition,

nothing in the record showed that the petitioner’s counsel could

“have determined in real time that the Petitioner had been moved

to New Jersey[.]” 2025 WL 972959, at *27. Although Mr. Khalil’s

counsel attempted to locate the petitioner, the ICE Online

Detainee Locator System incorrectly indicated that he was still

being held in New York, and Mr. Khalil was not allowed to call

his attorney. Accordingly, the District of New Jersey court

concluded the unknown custodian exception applied because “the

identity of the immediate custodian [was] virtually unknowable”

when Mr. Khalil filed his habeas petition. Id. at *30.

     The District of New Jersey court acknowledged that Mr.

Khalil’s custodian subsequently became known such that the case

could “simply be dismissed and refiled in Louisiana[,]” where he

was currently being held. Id. at 36. It nonetheless concluded

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that equitable concerns weighed in favor of applying the unknown

custodian exception, explaining that:

      if the exception does not apply, and the case is
      dismissed on that basis, then the implication would be
      that there can be a period of time during which a
      person can be arrested in the United States and then
      moved by federal officials, during which period no
      habeas court would have the power to hear him out ---
      even though, as here, his lawyers and family cannot
      determine where he is only because they have been
      given inaccurate information about his whereabouts,
      and because he has not been allowed to correct that
      information by making a phone call.
Id.
      For similar reasons, this Court agrees with Ms. Ozturk that

the unknown custodian exception applies in this case. As in

Demjanjuk, Ms. Ozturk was being held in “an undisclosed location

by an unknown custodian” on the date her habeas petition was

filed. 542 U.S. at 450 n.18. The government does not dispute

that her counsel could not have known her location; in fact, the

government states in its briefing that it does not permit

immigration detainees “to communicate about their location while

enroute between detention facilities” because doing so “would

raise serious security concerns.” ECF No. 83 at 13. The

government thus admits that from the time ICE agents arrested

Ms. Ozturk to the time she arrived at the Louisiana detention

facility, it was keeping her location a secret. And the identity

of Ms. Ozturk’s actual custodian at the time of filing, if it is

not one of the Respondents, appears to still be unknown to the

government.

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     Ms. Ozturk was arrested at 5:25 pm on March 25, 2025, and

ICE did not provide her location to her counsel until the

afternoon of March 26, 2025. This made it “impossible to apply

the immediate custodian” rule for a period of nearly 24 hours

after Ms. Ozturk’s initial detention. Padilla, 542 U.S. at 450

n.18; see United States v. Paracha, 2006 WL 12768, at *6

(S.D.N.Y. Jan. 3, 2006) (“Ordinarily, a habeas writ must be

served on a prisoner’s immediate custodian. However, where, as

here, the immediate custodian is unknown, a writ may properly be

served on the prisoner’s ultimate custodian.”).

     The government asserted at oral argument that under

Padilla, it is irrelevant whether Ms. Ozturk’s counsel made

diligent efforts to ascertain her location — that does not

excuse a petitioner from the immediate custodian requirement.

The Padilla majority, however, had no occasion to apply the

unknown custodian exception because the facts there indicated

that the petitioner’s counsel may have been “well aware” of Mr.

Padilla’s presence in South Carolina before filing a habeas

petition in New York. 542 U.S. at 449 n.17. The majority

rejected the dissent’s characterization of the petitioner’s

location as secret, finding that “neither Padilla nor the

District court” had “ever suggested that the Government

concealed Padilla’s whereabouts from counsel[.]” Id. In this

case, Ms. Ozturk argues, and the government does not dispute,

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that ICE officials were intentionally concealing Ms. Ozturk’s

whereabouts on the day her petition was filed.

     Additionally, application of the unknown custodian

exception in this case would not implicate the forum-shopping

concerns that underlie the immediate custodian rule. As the

Supreme Court explained in Padilla, this rule “serves the

important purpose of preventing forum shopping by habeas

petitioners” because “[w]ithout it, a prisoner could name a

high-level supervisory official as respondent and then sue that

person wherever he is amenable to long-arm jurisdiction.” 542

U.S. at 447. Here, the Court finds that Ms. Ozturk could only

have filed her petition in one location: the District of

Vermont.

     Even if the unknown custodian rule exception did not apply

here, had Ms. Ozturk correctly filed the Petition in the

District of Vermont but named the incorrect custodian, this

Court could have simply allowed her to amend the Petition to

include the proper respondent. See Fed. R. Civ. P. 15(a)(1)(A)

(“A party may amend its pleading once as a matter of course no

later than . . . 21 days after serving it); see also Destyl v.

Garland, 2023 WL 3603666, at *4 (W.D.N.Y. May 23, 2023) (finding

“purely as a procedural matter” that the proper respondent was

the officer-in-charge of the Buffalo Federal Detention Facility



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rather than the United States Attorney General and substituting

in the correct respondent).

      Accordingly, the Court finds it has habeas corpus

jurisdiction to consider Ms. Ozturk’s petition.

II.   Habeas Review Limitations in the Immigration and
      Nationality Act

      Having found that habeas corpus jurisdiction is proper, the

Court turns to the government’s argument that the INA

nonetheless bars district court review of Ms. Ozturk’s habeas

claims related to her detention. The government cites five

provisions of the INA which they argue constrain or prohibit the

Court’s review: 8 U.S.C. § 1201(i); 8 U.S.C. § 1226(e); 8 U.S.C.

§ 1252(g); 8 U.S.C. § 1252(a)(5); and 8 U.S.C. 1252 (b)(9). For

reasons set forth below, the Court finds that none of these

provisions limit the Court’s review where Ms. Ozturk has raised

constitutional and legal challenges to her detention that are

separate from removal proceedings.

  A. The Court’s Review is Not Barred by § 1226(e)

      Ms. Ozturk has been detained under the discretionary

detention provision of the INA, codified at 8 U.S.C. § 1226(a).

Section 1226 created two mutually exclusive avenues for

government detention of individuals who may be subject to

removal. One avenue, under the subsection titled “Detention of

Criminal Aliens,” requires (“shall”) the government to “take


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into custody” individuals who fit certain heightened criteria.

§1226(c). The other avenue – at issue in this case – entitled

“Arrest, Detention, and Release,” grants the government

discretion to arrest and detain individuals: “an alien may be

arrested and detained pending a decision on whether the alien is

to be removed from the United States.” 8 U.S.C. § 1226(a). The

statute also includes a subsection on judicial review. This

subsection reads in its entirety, “The Attorney General’s

discretionary judgment regarding the application of this section

shall not be subject to review. No court may set aside any

action or decision by the Attorney General under this section

regarding the detention of any alien or the revocation or denial

of bond or parole.” § 1226(e). 1

     The government argues that § 1226(e) precludes the Court’s

review of Ms. Ozturk’s detention, notwithstanding the United

States Constitution’s Suspension Clause. The Suspension Clause

provides that “[t]he Privilege of the Writ of Habeas Corpus

shall not be suspended, unless when in Cases of Rebellion or

Invasion the public Safety may require it.” Because of the

history and importance of the habeas corpus writ, along with a

desire to read statutes to comport with the Constitution, the




1
  Note that since the enactment of the INA, Congress created the
Department of Homeland Security and charged the Secretary with
enforcing the INA, 8 U.S.C. § 1103.

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Supreme Court has held that “where a provision precluding review

is claimed to bar habeas review, the Court requires a

particularly clear statement that such is Congress’ intent.”

Demore v. Kim, 538 U.S. 510, 511 (2003); id. at 517 (finding

that the “clear text” of § 1226(e) does not bar a habeas

challenge to detention). This mandate for statutory construction

is so strict that it has been criticized for establishing a

“magic words” requirement for Congress to preclude habeas

review. INS v. St. Cyr, 533 U.S. 289, 327 (2001) (Scalia, J.,

dissenting). Here, the Court does not find such a clear

statement of Congressional intent, let alone any magic words,

that would support a categorical bar to habeas review of

detention under § 1226.

     Binding precedent in this Circuit also counters the

government’s argument. In Velasco Lopez v. Decker, the Second

Circuit squarely considered the availability of habeas review

for the petitioner who was detained under § 1226(a). 978 F.3d

842 (2d Cir. 2020). The Circuit court reviewed a grant of habeas

relief under 28 U.S.C. § 2241 and held that § 1226(e) does not

limit habeas jurisdiction over constitutional claims or

questions of law. Id. at 850. Further, habeas review in federal

court can consider claims that the discretionary process itself

was constitutionally flawed. Id. In sum, whether a habeas



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petitioner received due process is not a matter of discretion

and is subject to judicial review. Id.

     As discussed below, Ms. Ozturk has raised questions that

are fairly characterized as “constitutional claims or questions

of law.” Id. Ms. Ozturk has also argued that while the

government does have discretion in § 1226(a) detention, that

discretionary process may be unconstitutional if it allows for

the deprivation of constitutional rights. For jurisdictional

purposes, the Court need not analyze the merits of these claims

at this point. It is enough to acknowledge that because Ms.

Ozturk has appropriately raised constitutional claims for this

Court to consider in habeas, the nature of those claims defeats

any jurisdictional bar set forth in § 1226(e). 2

     The legislative history of the REAL ID Act of 2005 confirms

that Congress understood § 1226(e) does not operate as a

categorical bar to habeas review of detention. Regarding

provisions of the REAL ID Act which purport to deprive the

districts courts of habeas jurisdiction of removal proceedings,

Congress noted that those provisions “will not preclude habeas

review over challenges to detention that are independent of



2
  The Court acknowledges case law limiting, but not eliminating, habeas
review for “Criminal Aliens” mandatorily detained under § 1226(c). See
e.g., Jennings v. Rodriguez, 583 U.S. 281 (2018). However, Ms. Ozturk
is held in discretionary detention under § 1226(a), not mandatory
detention under § 1226(c).


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challenges to removal orders.” H.R. Cong. Rep. No. 109-72, at

2873 (May 3, 2005). Almost immediately after the Real ID Act was

enacted, the First Circuit confronted the question of continued

district court jurisdiction for habeas challenges to detention

and determined that the REAL ID Act provided no bar in such

cases. Hernandez v. Gonzales, 424 F.3d 42, 42 (1st Cir. 2005).

And courts in this Circuit have continued to consider habeas

challenges to detention under § 1226(a) since then. See, e.g.,

Velasco Lopez, 978 F.3d 842. The Court adheres to that precedent

in this case.

  B. Sections § 1201(i), § 1252(g), § 1252(a)(5), and §
  1252(b)(9)

     The government argues that, regardless of this Court’s

interpretation of 8 U.S.C. § 1226(e), four additional statutory

provisions prevent it from considering Ms. Ozturk’s claim for

relief from present detention. Those four provisions – 8 U.S.C.

§ 1201(i), 8 U.S.C. § 1252(g), 8 U.S.C. § 1252(a)(5), and 8

U.S.C. § 1252(b)(9) – each directly relate to removal

proceedings.

     At the outset, the Court acknowledges that the Suspension

Clause does not establish an absolute right to seek the writ of

habeas corpus. The Supreme Court has held that Congress may

modify or eliminate the right to seek the writ if Congress

provides “a collateral remedy which is neither inadequate nor


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ineffective to test the legality of a person’s detention.” Swain

v. Pressley, 430 U.S. 372, 381 (1977). For example, as the Court

found in INS v. St. Cyr, “Congress could, without raising any

constitutional questions, provide an adequate substitute through

the courts of appeals.” 533 U.S. at 314 n.38. If such a

substitute is crafted by Congress, courts must then determine

“whether the statute stripping jurisdiction to issue the writ

avoids the Suspension Clause mandate because Congress has

provided adequate substitute procedures for habeas corpus.” Luna

v. Holder, 637 F.3d 85, 93 (2d Cir. 2011) (quoting Boumediene v.

Bush, 553 U.S. 723, 771 (2008)).

     Section 1201 governs the issuance of visas. The

jurisdictional bar in § 1201(i) explicitly prohibits judicial

review under “section 2241 of title 28 or any other habeas

corpus provision, and sections 1361 and 1651 of such title . . .

except in the context of a removal proceeding” for individuals

challenging the revocation of visas or documents. The government

urges the Court to follow the guidance of courts in other

jurisdictions who have found “themselves without jurisdiction to

consider the merits of a visa revocation upon operation of

Section 1201(i)’s language.” ECF No. 83 at 24. Here, however,

the merits of a visa revocation are not before the Court. While

Ms. Ozturk may plan to challenge the revocation of her visa in

another forum, she does not do so in the instant Petition.

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     Section 1252 provides a collateral remedy in the context of

removal proceedings. The government details its understanding of

that procedure succinctly: “Petitioner must seek release before

an immigration judge and must pursue relief from removal in

Immigration Court, whose decision would be reviewable before the

Board of Immigration Appeals (“BIA”), and (if necessary) a

federal circuit court.” ECF No. 83 at 4. Courts across the

country, including the Second Circuit, have functionally

endorsed this procedure as a substitute for the writ of habeas

corpus in instances where would-be habeas petitioners seek

judicial review of removal proceedings. See, e.g., Ruiz-Martinez

v. Mukasey, 516 F.3d 102, 114 (2d Cir. 2008). Thus, if Ms.

Ozturk sought relief from removal proceedings, this Court would

be obligated to follow Circuit precedent and conclude its review

of that claim.

     The government argues that whatever Ms. Ozturk’s claims may

be about the constitutionality of her detention, any “challenges

inextricably intertwined with the final order of removal that

precede issuance of any order of removal . . . and decisions to

detain for the purposes of removal” should all be considered

subject to the same jurisdictional bar. ECF No. 83 at 23. The

Second Circuit has held, however, that “a suit brought against

immigration authorities is not per se a challenge to a removal

order; whether the district court has jurisdiction will turn on

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the substance of the relief that a plaintiff is seeking.”

Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011) (citing

Kellici v. Gonzales, 472 F.3d 416, 420 (6th Cir. 2006) (finding

that a “district court, not court of appeals, had jurisdiction

where plaintiffs' habeas petitions challenged only the

constitutionality of the arrest and detention, not the

underlying administrative order of removal.”)).

     The claims for relief before this Court do not challenge

Ms. Ozturk’s removal proceedings. Ms. Ozturk’s attorneys

acknowledge that claims related to removal are not appropriate

in this action: “While the government’s Policy also lay behind

the revocation of her visa and placement in removal proceedings,

she does not, in this Court, challenge those actions. Instead,

she seeks relief on her claims challenging her apprehension,

detention, and the termination of her SEVIS, release from

detention, reinstatement of her SEVIS, and corresponding

declaratory and injunctive relief that the Policy that resulted

in her apprehension, detention, and SEVIS termination are

illegal.” 3 ECF. No. 81 at 21. None of these claims raise

challenges to the removal process.

     The limitations on habeas review set forth in Section 1252

thus do not apply in this case. Subsection (a)(5) provides for


3 The government notes that Ms. Ozturk’s SEVIS record is not the basis
for her detention or removability. ECF No. 83 at 21.

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the “Exclusive Means of Review” for habeas petitions challenging

“an order of removal” through the established scheme. Subsection

(b)(9) limits habeas review, except through the established

scheme requiring a final order before appeal to the circuit

court, for “all questions of law and fact, including

interpretation and application of constitutional and statutory

provisions, arising from any action taken or proceeding brought

to remove an alien from the United States under this

subchapter.” And subsection (g) limits jurisdiction of courts

outside the established scheme to “hear any cause or claim by or

on behalf of any alien arising from the decision or action by

the Attorney General to commence proceedings, adjudicate cases,

or execute removal orders against any alien under this chapter.”

     Subsection (a)(5) can be dispensed of quickly, as no

“removal order” has been issued here and Ms. Ozturk does not

challenge one. Similarly, she has not raised in this Court any

constitutional or legal concerns “arising from” “any action” or

“proceeding” brought to remove her, per subsection (b)(9).

Moreover, the plain text of subsection (g) does not support a

reading that Ms. Ozturk’s detention and resulting constitutional

claims arise from the government’s “decision or action” to

“commence proceedings, adjudicate cases, or execute removal

orders.” Whether removal proceedings have proceeded according to



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law and in comport with the Constitution is not a question

before this Court.

     The government’s argument that Ms. Ozturk’s detention

“arises from” her removal proceedings stretches the bounds of

the text and the facts of this case. While Ms. Ozturk’s

detention may be related to her immigration status following the

revocation of her visa, it does not “arise from” her removal

proceedings. Indeed, there is no causal relationship between the

removal proceedings and her detention. As the government has

confirmed, ICE’s decision to arrest and detain her was

discretionary under § 1226(e). Her detention did not flow

naturally as a consequence of her removal proceedings. Indeed,

Ms. Ozturk was detained before the commencement of her removal

proceedings. See 8 C.F.R. § 1003.14. Whether her detention

comports with the law and the Constitution is the subject of

this Court’s habeas review.

     The government cites Jennings v. Rodriguez, 138 S. Ct. 830,

841 (2018) for the proposition that the habeas corpus bar in §

1252(b)(9) includes challenges to a decision to detain or to

seek removal. Jennings does not provide guidance on the question

of reviewability of detention decisions under § 1252(b)(9),

however, in part because that issue was not briefed or argued

before the court. 138 S. Ct. at 841 (“The parties in this case

have not addressed the scope of § 1252(b)(9), and it is not

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necessary for us to attempt to provide a comprehensive

interpretation. For present purposes, it is enough to note that

respondents are not asking for review of an order of removal;

they are not challenging the decision to detain them in the

first place or to seek removal; and they are not even

challenging any part of the process by which their removability

will be determined. Under these circumstances, § 1252(b)(9) does

not present a jurisdictional bar.”). In fact, Jennings

explicitly rejected the formulation, proposed in a concurrence,

that the government seeks here. “The concurrence contends that

‘detention is an “action taken ... to remove” an alien’ and that

therefore ‘even the narrowest reading of “arising from” must

cover’ the claims raised by respondents. Post at 855. (Thomas,

J., concurring in part and concurring in judgment). We do not

follow this logic.” Id. at 841 n.3. Accordingly, this Court also

does not read “arising from” to encompass any activity that has

occurred since the revocation of Ms. Ozturk’s visa. 4


4
  In Court proceedings on April 14, 2025, the government reasserted the
argument that the confluence of the opinions of five Justices in
Jennings should be read to bar review of Ms. Ozturk’s claims in this
Court and instead channel them eventually to a court of appeals, no
matter the nature of the challenged action. But Justice Alito’s
opinion for the Court, while not controlling on the matter of
§1252(b)(9), rejects the “staggering results” that would follow
Respondents’ interpretation. “Suppose, for example, that a detained
alien wishes to assert a claim under Bivens v. Six Unknown Fed.
Narcotics Agents, 403 U.S. 388 (1971), based on allegedly inhumane
conditions of confinement. . . . [C]ramming judicial review of those
questions into the review of final removal orders would be absurd.”
Jennings 138 S.Ct. at 293.

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     Similarly, the government’s reliance on Delgado v.

Quarantillo is misplaced. 643 F.3d 52 (2d Cir. 2011). The

Delgado case did not concern detention. The plaintiff in that

case brought a mandamus action to raise an adjustment-of-status

challenge, which the Second Circuit determined was “inextricably

linked” to a reinstatement of removal order and thus barred by §

1252(a)(5) because “the adjustment of status to that of a lawful

permanent resident would render the reinstatement order

invalid.” 643 F.3d at 55 (cleaned up). Implicit in the Delgado

court’s reasoning is a causal relationship between the relief

sought and the removal process. As noted above, the Delgado

court made clear that district courts must determine

jurisdiction by considering the substance of the asked-for

relief because suits brought against immigration authorities are

not per se challenges to removal orders. Id. In this case, there

is no causal relationship between discretionary detention and

removal proceedings. Relief from alleged improper detention

would not render any removal proceedings invalid.

     Finally, Ragbir v. Homan, 923 F.3d 53 (2d Cir. 2019) does

not address an analogous situation for the purpose of § 1252(g)

interpretation. The government contends that Ragbir counsels

that “1252(g) strips the district court of jurisdiction to hear

a retaliatory First Amendment challenge in a removal case.” ECF

No. 83 at 26. But, again, the Court is not considering a removal

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case. The Court is considering a habeas challenge to

discretionary detention.

     In summary, the government urges the court to interpret

challenges to § 1226(a) detention as per se challenges to

removal proceedings and barred by several provisions in § 1252.

The Court declines to adopt that approach, as it has no

precedent in this Circuit or at the Supreme Court. Indeed, cases

like Velasco Lopez suggest that district courts in this Circuit

should continue to consider habeas challenges to detention post-

REAL ID Act, where otherwise appropriate. Article III courts

have an important role to play in evaluating constitutional and

legal claims related to detention brought in habeas, and this

Court has jurisdiction over this case.

     The Court offers one final observation about the

government’s argument that constitutional challenges to

detention must be brought first to an Immigration Judge, then to

the Board of Immigration Appeals, and finally via a petition for

review to the court of appeals. There are serious questions

about whether that process would be an adequate substitute for

the writ of habeas corpus in district court, given the limited

scope of administrative review. 5 In a similar case proceeding in



5
  Respondents’ reliance on Reno v. American-Arab Anti-Discrimination
Committee (“AADC”), 525 U.S. 471 (1999), to “settle” these questions
elides the fact that AADC was exclusively about removal, not
detention.

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the District of New Jersey, the government has acknowledged

that, “[i]f the alleged claim is a fundamental constitutional

claim the BIA (or the immigration judge) is powerless to

address, the court of appeals can address that issue in the

first instance.” Khalil, 2:25-cv-01963-MEF-MAH, ECF No. 185 at 2

(cleaned up). Attorneys for the detainee in that case put it

more bluntly, “both the IJ and the Board of Immigration Appeals

(‘BIA’) lack jurisdiction over constitutional challenges.” Id.

at ECF No. 189 at 1; see also Severino v. Mukasey, 549 F.3d 79,

83 (2d Cir. 2008).

     While timelines may vary on the speed with which detainees

may have their constitutional arguments heard by a court of

appeals in the first instance after the IJ and the BIA

processes, it is evident that it will necessarily be slower than

a petition to a district court, likely by a factor of months,

leading to a gap in their habeas rights. The District Court of

New Jersey held in Khalil that to deny jurisdiction would be to

say that for a single day in March, the detainee in that case

“would not have been able to call on any habeas court.” 2025 WL

972959, at *37. The Court found that to be “too far” because

“[o]ur tradition is that there is no gap in the fabric of habeas

--- no place, no moment, where a person held in custody in the

United States cannot call on a court to hear his case and decide

it.” Id.

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     Consider that the government’s argument on this issue boils

down to a bold statement that no matter how egregious the type

or quantity of First Amendment or due process violations

committed by the government in detaining an individual, an

Article III court cannot consider any alleged constitutional

violations until after Article II employees, with no power to

consider or address those violations, have moved the case

through their lengthy process. Put another way, the government

argues that § 1226(a) grants practically limitless, unreviewable

power to detain individuals for weeks or months, even if the

detention is patently unconstitutional. Fortunately, this Court

need not rule on the merits of that argument today, given the

Court’s rejection of the jurisdictional bar on other grounds.

Thus, having found that 8 U.S.C. § 1201(i), § 1226(e), §

1252(g), § 1252(a)(5), and § 1252(b)(9) do not bar the Court’s

consideration of Ms. Ozturk’s constitutional and legal claims,

the Court turns to those claims now.

III. Petitioner’s Request for Immediate Release

     Ms. Ozturk seeks habeas corpus relief based on alleged

violations of her constitutional rights. Her ultimate goal in

these proceedings is release from detention, but the Court

presently considers her request for immediate release pending

the resolution of her habeas petition.



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     Both parties analyze Ms. Ozturk’s claim for immediate

release pending the adjudication of her petition in reference to

Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001). Such release is

authorized by Mapp provided the Court finds the habeas petition

raises “substantial claims” and that “extraordinary

circumstances” exist “that make the grant of bail necessary to

make the habeas remedy effective.” Id. at 230 (cleaned up).

     In this section, the Court first considers its power to

conduct a habeas review and the proper nature of that review at

this point in the case. The Court turns next to a short summary

of evidence related to Ms. Ozturk’s constitutional claims. The

Court then considers Ms. Ozturk’s First Amendment and Due

Process claims. The Court finds that while Ms. Ozturk has raised

serious claims and provided evidence that merit further review,

the Court does not yet have enough evidence to make a

determination on pre-disposition release under Mapp,

particularly given the government’s limited representations on

that question.

     A. Habeas Corpus Review

     District Courts have “inherent power” to consider habeas

petitions and grant relief. Mapp, 241 F.3d at 226 (citing Ostrer

v. United States, 584 F.2d 594, 596 n.1 (2d Cir. 1978)). The

power is also statutory, as Section 2241 states that “[w]rits of

habeas corpus may be granted by the Supreme Court, any justice

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thereof, the district courts and any circuit judge within their

respective jurisdictions.” 28 U.S.C. § 2241. “Congress has

authorized federal district courts to grant a writ of habeas

corpus whenever a petitioner is in custody in violation of the

Constitution or laws or treaties of the United States.” Black v.

Decker, 2020 WL 4260994, at *5 (S.D.N.Y. July 23, 2020), aff’d,

103 F.4th 133 (2d Cir. 2024) (cleaned up).

     Historically, “common-law habeas corpus was, above all, an

adaptable remedy. Its precise application and scope changed upon

the circumstances.” Boumediene, 553 U.S. at 779. The “equitable

and flexible nature of habeas relief” continues in our system

today. Velasco Lopez, 978 F.3d at 855. Where appropriate, courts

must use their authority to consider not only the present

circumstances of confinement, but the actions that led to it.

“The intended duration of the detention and the reasons for it

bear upon the precise scope of the inquiry. . . . The habeas

court must have sufficient authority to conduct a meaningful

review of both the cause for detention and the Executive’s power

to detain.” Boumediene, 553 U.S. at 783. As the Velasco Lopez

court stated, “[t]he purpose of habeas corpus is to impose

limitations on the Government’s ability to do these things.” 978

F.3d at 855.

     The nature of the detention, and any other proceedings that

have occurred, will impact the rigor of review. “Where a person

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is detained by executive order, rather than, say, after being

tried and convicted in a court, the need for collateral review

is most pressing. . . . In this context the need for habeas

corpus is more urgent.” Boumediene, 553 U.S. at 783.

Accordingly, this Court must conduct an “urgent” investigation

of Ms. Ozturk’s detention and consider “both the cause for

detention and the Executive’s power to detain.” Id.

     The current questions before this Court are how to evaluate

Ms. Ozturk’s claims at this stage of the proceedings and what,

if any, relief is appropriate. Ms. Ozturk argues that her

detention pursuant to the government’s authority under 8 U.S.C.

§ 1226(a) is unconstitutional because it is motivated by an

impermissible purpose. She acknowledges that § 1226(a) grants

the government discretion generally as it relates to decisions

to detain individuals who may be subject to removal, but, as her

counsel argued in court, “there’s no discretion to violate the

Constitution.” ECF No. 98 at 51; see also id. at 77 (citing

Myers & Myers, Inc. v. U.S. Postal Serv., 527 F.2d 1252, 1261

(2d Cir. 1975) and Bates v. Town of Cavendish, Vermont, 735 F.

Supp. 3d 479, 506 (D. Vt. 2024) for the proposition that

government officials cannot violate the Constitution despite

grants of discretion). If her detention is unconstitutional, the

likely remedy is release.



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     In addition to habeas corpus relief, Ms. Ozturk has asked

the Court to grant her immediate release pending the

adjudication of her Petition. Such release is governed by the

Mapp factors which, as noted above, require the Court to find

that the habeas petition raises “substantial claims” and that

“extraordinary circumstances” exist “that make the grant of bail

necessary to make the habeas remedy effective.” Id. at 230

(cleaned up).

     The Court must also consider the government’s request for

dismissal. In Ashcroft v. Iqbal. 556 U.S. 662 (2009), the

Supreme Court considered claims of unconstitutional conduct

relating to immigration detention. Iqbal requires the complaint

to state “a plausible claim for relief” and “requires the

reviewing court to draw on its judicial experience and common

sense.” Id. at 679. However, if “well-pleaded facts do not

permit the court to infer more than the mere possibility of

misconduct,” the Court cannot sustain a claim. Id. In short,

“while legal conclusions can provide the framework of a

complaint, they must be supported by factual allegations.” Id.

     For the reasons set forth below, the Court finds that Ms.

Ozturk has presented significant evidence supporting her

constitutional claims, and that those claims easily meet the

Iqbal standard. Ms. Ozturk argues that her detention is in

retaliation for her political speech, thus violating her rights

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under the First and Fifth Amendments. Her evidence supports her

argument that the government’s motivation or purpose for her

detention is to punish her for co-authoring an op-ed in a campus

newspaper which criticized the Tufts University administration,

and to chill the political speech of others. The government has

so far offered no evidence to support an alternative, lawful

motivation or purpose for Ms. Ozturk’s detention.

     B. Summary of Facts Supporting Constitutional Claims

     Over a year ago, on March 26, 2024, Ms. Ozturk was one of

four co-authors of an op-ed published in a student newspaper.

The Tufts Daily “is the entirely student-run newspaper of record

at Tufts University” which regularly publishes “op-eds submitted

by readers and members of the Tufts community.” About Us, The

Tufts Daily, https://www.tuftsdaily.com/page/about. The op-ed

was titled “Try again, President Kumar: Renewing calls for Tufts

to adopt March 4 TCU Senate resolutions.” Ms. Ozturk describes

the op-ed as “criticiz[ing] the University’s dismissal of

several resolutions that had been adopted by the undergraduate

student Senate as ‘a sincere effort to hold Israel accountable

for clear violations of international law.’ The op-ed urged

Tufts to “trust in the Senate’s rigorous and democratic process’

and ‘meaningfully engage with and actualize the resolutions

passed by the Senate.’” ECF No. 12 at 2.



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     Tufts University “declares that this opinion piece was not

in violation of any Tufts policies” and “[t]he University

maintains that the op-ed was consistent with speech permitted by

the Declaration on Freedom of Expression adopted by [University]

trustees on November 7, 2009.” ECF No. 26 at 67. This

declaration from Tufts University was signed by President Kumar,

the addressee of Ms. Ozturk’s co-authored op-ed. Id. at 69.

     Ms. Ozturk supports her claim that her adverse treatment

from the government is improperly motivated by pointing to

several statements made by high-level government officials. 6 On

May 14, 2024, then-candidate Donald Trump reportedly said, “any

student that protests, I throw them out of the country. You

know, there are a lot of foreign students. As soon as they hear

that, they’re going to behave.” 7 On March 28, 2025, Secretary of

State Marco Rubio delivered remarks to the press regarding Ms.

Ozturk’s detention. U.S. Department of State, Secretary of State



6
  Though Ms. Ozturk offers these statements to support her argument
that her detention is related to her speech, these statements do not
always neatly differentiate between the issues of visa revocation,
legal status in the country, detention, and removal. See, e.g.,
Secretary Rubio’s statement on March 27, 2025, “We’ll revoke your
visa, and once your visa is revoked, you’re illegally in the country
and you have to leave.” Secretary Rubio Defends Revoking Turkish
Student’s Visa, C-SPAN (Mar. 27, 2025), https://www.c-
span.org/clip/news-conference/secretary-rubio-defends-revoking-
turkish-students-visa/5158479.
7
  Josh Dawsey, et al., Trump told donors he will crush pro-Palestinian
protests, deport demonstrators, Washington Post (May 27, 2024),
https://www.washingtonpost.com/politics/2024/05/27/trump-israel-gaza-
policy-donors/.

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Marco Rubio Remarks to the Press (Mar. 28, 2025),

https://www.state.gov/secretary-of-state-marco-rubio-remarks-to-

the-press-3/. Secretary Rubio stated in response to a question

about Ms. Ozturk, “The activities presented to me meet the

standard of what I’ve just described to you: people that are

supportive of movements that run counter to the foreign policy

of the United States.” Secretary Rubio further indicated that

Ms. Ozturk’s detention was the government “basically asking them

to leave the country.” He explicitly noted that “that’s why

they’ve been detained.”

     Secretary Rubio, however, alluded that the government had

more evidence than the op-ed to support Ms. Ozturk’s detention,

stating: “I would caution you against solely going off of what

the media has been able to identify, and those presentations, if

necessary, will be made in court.” A March 21, 2025 memo from a

Senior Bureau Official in the Bureau of Consular Affairs with

the Department of State states that, “in response to a request

from DHS/ICE and the assessment from DHS/ICE that Rumeysa OZTURK

had been involved in associations that ‘may undermine U.S.

foreign policy by creating a hostile environment for Jewish

students and indicating support for a designated terrorist

organization’ including co-authoring an op-ed that found common

cause with an organization that was later temporarily banned



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from campus, the Bureau of Consular Affairs” revoked Ms.

Ozturk’s visa. ECF No. 91 at 6 (emphasis added).

     Ms. Ozturk has also provided declarations to this Court

supporting her claim that the manner of her arrest and detention

are irregular. Declarations from five immigration attorneys in

New England provide evidence that her movements through at least

five states and several different government facilities within

24 hours of arrest may be atypical for an individual in her

situation. ECF No. 82 at 17-18. In particular, Ms. Ozturk has

offered evidence to dispute the government’s claims that she has

been detained in Louisiana because there were no appropriate

beds available in New England at the time of her detention. Id.

at 20.

     The government has presented little evidence to rebut Ms.

Ozturk’s constitutional violation claims. As noted above, the

government has offered a declaration from the Acting Deputy

Field Office Director for ICE in Burlington, Massachusetts

regarding ICE detention procedures and available bedspace. ECF

No. 19-1. The government has not offered any evidence

specifically regarding its motivation or rationale for Ms.

Ozturk’s detention.

     C. First Amendment Claim

     The First Amendment’s protection of the right to free

speech is often considered the cornerstone of our vibrant

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American democracy. As Benjamin Franklin famously wrote in 1737,

“Freedom of speech is a principal pillar of a free government;

when this support is taken away, the constitution of a free

society is dissolved.” The Supreme Court has confronted

restrictions on the right to free speech countless times since

our founding, and it recently summarized the history, scope, and

importance of the right to freedom of speech:

     The framers designed the Free Speech Clause of the
     First Amendment to protect the freedom to think as you
     will and to speak as you think. They did so because
     they saw the freedom of speech both as an end and as a
     means. An end because the freedom to think and speak
     is among our inalienable human rights. A means because
     the freedom of thought and speech is indispensable to
     the discovery and spread of political truth. By
     allowing all views to flourish, the framers
     understood, we may test and improve our own thinking
     both as individuals and as a Nation. For all these
     reasons, if there is any fixed star in our
     constitutional constellation, it is the principle that
     the government may not interfere with an uninhibited
     marketplace of ideas. . . . [t]he First Amendment
     protects an individual’s right to speak his mind
     regardless of whether the government considers his
     speech sensible and well intentioned or deeply
     misguided and likely to cause anguish and incalculable
     grief. Equally, the First Amendment protects acts of
     expressive association.

303 Creative LLC v. Elenis, 600 U.S. 570, 584-86 (2023)

(internal citations and quotations omitted).

     It is against this backdrop that Ms. Ozturk alleges that

her detention is retaliation for political speech which is core

First Amendment protected conduct. The only specific act cited

by the government so far as justification for any of their

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adverse actions towards Ms. Ozturk is her co-authored op-ed. ECF

No. 91-1. The Supreme Court has repeatedly “reaffirmed that

speech on public issues occupies the highest rung of the

hierarchy of First Amendment values, and is entitled to special

protection,” Connick v. Myers, 461 U.S. 138, 145 (1983)

(internal quotation omitted), because “political speech [is] at

the core of what the First Amendment is designed to protect,”

Virginia v. Black, 538 U.S. 343, 365 (2003). As a general rule,

“the First Amendment means that government has no power to

restrict expression because of its message, its ideas, its

subject matter, or its content.” Ashcroft v. Am. Civil Liberties

Union, 535 U.S. 564, 573 (2002). Furthermore, First Amendment

protections have long extended to noncitizens residing within

the country. Bridges v. Wixon, 326 U.S. 135 (1945).

     The Court hesitates to characterize the content of Ms.

Ozturk’s speech, which is obviously about public issues, but it

is necessary to clarify that Ms. Ozturk’s op-ed does not readily

fall into one of the established exemptions to the First

Amendment’s protection from government speech regulation. The

op-ed focuses largely on the authors’ belief that the Tufts

University administration erred by not affording sufficient

deference to resolutions adopted by the Tufts undergraduate

student senate. The op-ed quotes school documents to argue that

the school administrators are not upholding their stated values

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of supporting critical thinking and debate in the community. The

authors express their belief regarding violations of

international law that have motivated the student senate’s

resolutions. And as the Armstrong Memorandum cites, the authors

note alignment in rejecting the university administration’s

response to the student senate recommendations with another

organization later temporarily barred from the Tufts campus for

actions the organization took well after the publication of this

op-ed. The op-ed culminates with the co-authors “urg[ing]

President Kumar and the Tufts administration to meaningfully

engage with and actualize the resolutions by the Senate.” Taken

together, the op-ed is self-evidently speech regarding public

issues, albeit largely focused on the parochial politics of

university governance.

     The Supreme Court has recognized only “a few limited areas”

where the First Amendment permits restrictions based on the

content of speech. See United States v. Stevens, 559 U.S. 460,

468 (2010) (citation omitted). The Supreme Court summarized

these areas in the recent Counterman v. Colorado case:

“incitement—statements directed at producing imminent lawless

action, and likely to do so,” “defamation—false statements of

fact harming another’s reputation,” “obscenity—valueless

material appealing to the prurient interest,” and “true threats

of violence.” 600 U.S. 66, 73-74 (2023) (cleaned up). This Court

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does not believe that a reasonable reader of the op-ed would

find a true threat or incitement of lawless action, let alone

obscenity or defamation. Tufts University has confirmed that the

op-ed did not violate any Tufts policy, that no complaints were

filed about the op-ed, that the speech in the op-ed was

consistent with University guidelines, and indeed that it was

just one of many op-eds discussing the issue published in the

school newspaper. ECF No. 26-1 at 67.

     The First Amendment protects individuals from government

action that is based on improper motives, namely silencing

disfavored speech. The Second Circuit has long recognized

retaliation in violation of the First Amendment as a defense

from government enforcement. In recently affirming this Court,

the Circuit identified the appropriate standard: “A plaintiff

must allege (1) that the speech or conduct at issue was

protected, (2) that the defendant took adverse action against

the plaintiff, and (3) that there was a causal connection

between the protected speech and the adverse action.” Demarest

v. Town of Underhill, 2025 WL 88417, at *2 (2d Cir. Jan. 14,

2025) (summary order) (quoting Gonzalez v. Hasty, 802 F.3d 212,

222 (2d Cir. 2015)) (cleaned up). In the criminal context, the

Supreme Court has expanded on the standard for the third

element: “With respect to the third requirement, ‘[i]t is not

enough to show that an official acted with a retaliatory motive

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and that the plaintiff was injured – the motive must cause the

injury.’” Id. (quoting Nieves v. Bartlett, 587 U.S. 391, 398

(2019)). “Specifically, it must be a ‘but-for’ cause, meaning

that the adverse action against the plaintiff would not have

been taken absent the retaliatory motive.” Id. (quoting Nieves

587 U.S. at 399). However, given the different nature of

criminal detention and immigration detention, as discussed

above, it is not altogether clear that this interpretation

controls the habeas inquiry. See Gonzalez v. Trevino 602 U.S.

653, 658 (2024) (rejecting an “overly cramped” reading of the

Nieves standard). Regardless of whether it binds the Court here,

Nieves serves to highlight the importance of identifying the

motive for detention.

     The Second Circuit has specifically recognized potential

retaliation for protected political speech as a cognizable

ground for habeas relief in the immigration context, noting that

“to allow this retaliatory conduct to proceed would broadly

chill protected speech, among not only activists subject to

final orders of deportation but also those citizens and other

residents who would fear retaliation against others.” Ragbir,

923 F.3d at 71.

     Ms. Ozturk has presented evidence to support her argument

that she may qualify for a retaliation claim. Administration

officials have identified her speech as the reason her visa was

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revoked. If this Court were evaluating the question of

motivation for Ms. Ozturk’s visa revocation, this inquiry could

likely conclude now. It may well be that the Ms. Ozturk’s

detention shares common motivation with her visa revocation. But

as this Court has found that visa revocation and detention

proceedings are not inextricably linked, the Court seeks

additional evidence of the connection between Ms. Ozturk’s

speech and her detention.

     The court in Ragbir, decided before Nieves, found that a

retaliation claim was satisfied by “plausible — indeed, strong —

evidence that officials responsible for the decision to deport

him did so based on their disfavor of Ragbir’s speech.” 923 F.3d

at 73. Regardless of whether the standard for establishing a

connection is ”plausible,” “strong,” or “causation,” the Court’s

inquiry would benefit from the ability to consider additional

evidence. For present purposes it is sufficient to find that Ms.

Ozturk’s First Amendment claims are serious and worthy of

further exploration in this Court.

     Secretary Rubio has argued publicly that there are

additional justifications for the government’s actions adverse

to Ms. Ozturk and that these justifications may be filed in

court if necessary. The Court invites an immediate submission

any such evidence in this case. In the absence of additional

information from the government, the Court’s habeas review is

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likely to conclude that Ms. Ozturk has presented a substantial

claim.

     D. Due Process Claim

     The Due Process Clause of the Fifth Amendment protects the

right of “any person” from “be[ing] deprived of life, liberty,

or property, without due process of law.” “Freedom from

imprisonment — from government custody, detention, or other

forms of physical restraint — lies at the heart of the liberty

that Clause protects.” Zadvydas v. Davis, 533 U.S. 678, 690

(2001).

     Ms. Ozturk alleges that her detention violates the Due

Process Clause because it serves no legitimate purpose, or in

the alternative because it is motivated by improper purposes.

Her due process claims are grounded in a “line of cases which

interprets the Fifth and Fourteenth Amendments’ guarantee of

‘due process of law’ to include a substantive component, which

forbids the government to infringe certain ‘fundamental’ liberty

interests at all, no matter what process is provided, unless the

infringement is narrowly tailored to serve a compelling state

interest.” Reno v. Flores, 507 U.S. 292, 301–02 (1993).

Substantive due process claims are available in the context of

immigration detention. Zadvydas, 533 U.S. at 694 (citing Wong

Wing v. U.S., 163 U.S. 228 (1896)). And “the Due Process Clause

covers noncitizens, whether their presence here is lawful,

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unlawful, temporary, or permanent.” Velasco Lopez, 978 F.3d at

850 (citing Zadvydas, 533 U.S. at 693).

     In the civil immigration context, potential requirements of

the Due Process Clause frequently conflict with the prerogatives

of Congress and the Executive to manage immigration and foreign

affairs. As discussed above, Congress has granted the Executive

the authority to detain individuals such as Ms. Ozturk pending a

removal decision under 8 U.S.C. § 1226(a). Though detentions

under § 1226(a) do not follow any judicial process, let alone a

criminal conviction, the Supreme Court has found that such

deprivation of liberty is not per se unconstitutional. The

Supreme Court “has recognized detention during deportation

proceedings as a constitutionally valid aspect of the

deportation process,” Demore, 538 U.S. at 523, and determined

that “the Due Process Clause does not require [the government]

to employ the least burdensome means to accomplish its goal,”

id. at 528.

     Civil detention may be permissible with lower procedural

requirements than criminal detention, but it is not permissible

for the same purposes. Specifically, the Supreme Court has long

recognized that the key rationale for allowing less process in

immigration cases than in criminal cases is that the immigration

system, including detention, is not punitive. See, e.g., Fong

Yue Ting v. United States, 149 U.S. 698, 730 (1893); AADC, 525

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U.S. at 491. ICE acknowledges this principle with respect to

immigration detention, Detention Management, U.S. Immigrations

and Custom Enforcement, https://www.ice.gov/detain/detention-

management (updated Apr. 16, 2025)(“Detention is non-

punitive.”), and for good reason. The Supreme Court has

reiterated that immigration detention is “civil, not criminal,

and we assume that they are nonpunitive in purpose and effect.”

Zadvydas, 533 U.S. at 690. Justice Kennedy confirmed the

majority’s understanding in that case that “both removable and

inadmissible aliens are entitled to be free from detention that

is arbitrary or capricious. Where detention is incident to

removal, the detention cannot be justified as punishment nor can

the confinement or its conditions be designed in order to

punish.” Id. at 721 (Kennedy, J., dissenting). Rather than

punishment, immigration detention must be motivated by the two

valid regulatory goals that the government has previously argued

motivate the statute: “ensuring the appearance of aliens at

future immigration proceedings and preventing danger to the

community.” Id. at 690 (cleaned up). So long as detention is

motivated by those goals, and not a desire for punishment, the

Court is generally required to defer to the political branches

on the administration of the immigration system.

     Ms. Ozturk argues that her detention is punitive, in

addition to the First Amendment retaliation claims discussed

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above. The Secretary of State’s recent comments imply that her

detention is motivated by a desire to compel her to voluntarily

depart the country. U.S. Department of State, Secretary of State

Marco Rubio Remarks to the Press (Mar. 28,

2025),https://www.state.gov/secretary-of-state-marco-rubio-

remarks-to-the-press-3/. The Secretary also suggests that her

detention advances a message to others in similar situations

that they should choose to leave the country rather than face

detention. “They can do so tomorrow. Buy an airplane ticket and

leave.” However, courts have not sanctioned the use of the

immigration detention system to strike fear in or punish

individuals who may seek to contest their removal through lawful

administrative and judicial channels designed for that purpose.

This is an important distinction between civil detention and

criminal incarceration, which allows for punishment and

deterrence. Courts’ less exacting due process scrutiny has thus

far been premised on the assumption that the system is operating

for permitted purposes.

     Ordinarily, the government may not need to justify its

discretionary decision to detain an individual pursuant to 8

U.S.C. § 1226(e), and it has presented no evidence here as to

its motivations for Ms. Ozturk’s detention. Ms. Ozturk’s counsel

has informed the Court that DHS contended in immigration court

that “Ms. Ozturk poses a flight risk,” though Ms. Ozturk’s

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attorneys have characterized that claim as “unsupported.” ECF

No. 99 at 1. An immigration judge found “Danger and Flight

Risk,” but the Court has not seen the evidence that supported

that determination, and Ms. Ozturk has submitted evidence to

support the opposite conclusion. ECF 101-1 at 4. Where a

detainee presents evidence that her detention, though

discretionary, is motivated by unconstitutional purposes in

violation of the Due Process Clause, the Court may reasonably

conclude the same in the absence of countervailing evidence. As

the Court continues consideration of Ms. Ozturk’s habeas

petition, it will allow the government to present evidence to

rebut claims that her detention is improperly motivated.

     E. Ms. Ozturk Has Plausibly Alleged Constitutional
        Violations, But the Record Is Not Sufficiently Developed
        to Support Immediate Release

     The record before the Court demonstrates that Ms. Ozturk

has plausibly pled constitutional violations related to her

detention. Ms. Ozturk’s Free Speech and Due Process claims are

serious, and the Court intends to continue to develop the facts

on these issues. However, the Court does not find at this time

that such pleadings are sufficient to satisfy the standard for

immediate release, given the overarching deference towards the

executive branch’s authority in the area of immigration

enforcement.



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     Both Ms. Ozturk and the government suggest that it is

appropriate for the Court to consider Ms. Ozturk’s claim for

release pending the resolution of her habeas petition under the

Second Circuit’s standard in Mapp. As noted previously, the Mapp

standard requires a court contemplating bail to “inquire into

whether the habeas petition raises substantial claims and

whether extraordinary circumstances exist that make the grant of

bail necessary to make the habeas remedy effective.” 241 F.3d at

230 (cleaned up).

     The Court does not find that it has sufficient information

to support release under Mapp, nor does it determine that Ms.

Ozturk is unlikely to be able to meet that standard with

additional evidence. The Court notes at the outset that this

case has been proceeding rapidly, and new evidence has been

emerging regularly. For example, on Friday, April 11, 2025, Ms.

Ozturk’s counsel transmitted to the Court the Armstrong

Memorandum, which contains probative evidence regarding the

government’s motivations but was received by Ms. Ozturk’s

counsel after the April 10 filing deadline on these issues. See

ECF No. 91. Similarly, on Sunday, April 13, less than twenty-

four hours before this Court held a hearing on these issues, Ms.

Ozturk’s counsel submitted as an exhibit an April 13, 2025

Washington Post article reporting on the existence of an

additional State Department memorandum, though that memorandum

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has not yet been provided to this Court. See ECF No. 95. These

memoranda, along with any other evidence held by either party

but not yet disclosed to the Court, are important to the

resolution of both a request for release on bail and a final

determination. The Court plans to move expeditiously towards the

resolution of these factual questions.

     F. Scope of Federal Judicial Power

     Rather than contest the merits of Ms. Ozturk’s detention,

the government has primarily argued that decisions regarding

immigration detention fall squarely under the control of the

political branches and should not be second guessed by the

courts. This Court follows clear instruction of the Supreme

Court on this matter and has “due regard for the deference owed

to the Executive Branch in the conduct of foreign affairs.” Noem

v. Abrego Garcia, 2025 WL 1077101, at *1 (U.S. Apr. 10, 2025).

This Court has not considered questions of foreign policy or

immigration policy in the course of these proceedings. The Court

concerns itself only with review of Ms. Ozturk’s discretionary

domestic detention, within the contours of established

precedent.

    To be clear, precedent in this Circuit has confirmed that

Congress may restrict some judicial review of immigration cases.

The Mapp decision found that “[t]here can be no doubt that, with

respect to immigration and deportation, federal judicial power

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is singularly constrained,” 241 F.3d at 227, and that Congress

may have “plenary power over immigration matters [that] renders

this [habeas] authority readily subject to congressional

limitation,” id. at 231. However, the Mapp Court also held that,

“[a]bsent a clear direction from Congress, federal judicial

power is unaltered, and the authority of the federal courts to

admit to bail parties properly within their jurisdiction remains

unqualified.” Id. at 227. As discussed above, no such clear

direction applies here. 8

     Nonetheless, this backdrop will inform the scope and depth

of the Court’s review into the merits of Ms. Ozturk’s habeas

claims to ensure that the Court does not improperly intrude upon

the prerogatives of the other co-equal branches. See AADC, 525

U.S. at 491 (holding that in general courts should not assess

the legitimacy of the Executive’s foreign policy objectives or

law enforcement priorities when considering deportation cases

though there may be “a rare case in which the alleged basis of

discrimination is so outrageous” as to warrant judicial review).

Where the executive branch has exercised powers assigned to it

by the legislative branch in compliance with the laws and


8
  Further it is not evident that the power of the political branches to
“constrain” or “limit” habeas review is the same as the power to
eliminate it in the district courts, particularly in the context of
detention. Consider the Jennings Court’s hypothetical regarding
judicial review of inhumane conditions of confinement, which the
Supreme Court found “absurd” to channel to the circuit courts via a
petition for review. Supra note 4.

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Constitution, this Court will not second guess the government’s

choices.

IV.   Petitioner’s Request for Return to Vermont

      Ms. Ozturk has proposed that, if her request for immediate

release is not granted, the Court order her returned to the

District of Vermont. The Court finds that Ms. Ozturk’s physical

return to ICE custody within the District of Vermont is in the

interest of justice because transfer would assist the Court’s

exploration of the important constitutional questions in this

case, would allow the Court to conduct appropriate fact-finding

including to support a potential bail hearing, and would

otherwise have no impact on removal proceedings. Her physical

return to Vermont would also give closely proximate effect to

the order issued by the District of Massachusetts court at 10:55

p.m. on Tuesday, March 25, 2025, which was not heeded by the

government.

      A. Ms. Ozturk’s Presence in Vermont Will Facilitate the Fair
         and Expeditious Resolution of this Matter

      The Court finds that Ms. Ozturk’s presence in Vermont will

facilitate her ability to work with her attorneys, coordinate

the appearance of witnesses, and generally present her habeas

claims, many of which are based on events that occurred in New

England. A transfer to Vermont will also facilitate Ms. Ozturk’s

ability to receive a neutral medical evaluation, as her medical


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condition will be a factor for the Court to consider when

addressing the question of release. More generally, her presence

in the courtroom will assist the Court in determining potential

bail conditions and whether release is appropriate.

     Ms. Ozturk has informed the Court that her treatment in the

Louisiana facility is inadequate. She is suffering from severe

asthma attacks and is not provided appropriate medication. Her

place of detention is reportedly overcrowded and unsanitary. Her

religious needs are not being addressed. The Court takes these

issues into consideration when determining the necessity and

equities of a transfer.

     As discussed previously, the Second Circuit has recognized

the “equitable and flexible nature of habeas relief.” Velasco

Lopez, 978 F.3d at 855. The Supreme Court has held that the

“exercise of a court’s equity powers . . . must be made on a

case-by-case basis.” Baggett v. Bullitt, 377 U.S. 360, 375

(1964). The “flexibility” inherent in “equitable procedure”

enables courts “to meet new situations [that] demand equitable

intervention, and to accord all the relief necessary to correct

. . . particular injustices.” Hazel–Atlas Glass Co. v. Hartford–

Empire Co., 322 U.S. 238, 248 (1944). The Court also has the

inherent authority and responsibility to protect the integrity

of its proceedings which were undoubtedly impacted when Ms.

Ozturk was transferred to Louisiana. See Degen v. United States,

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517 U.S. 820, 823 (1996) (“Courts invested with the judicial

power of the United States have certain inherent authority to

protect their proceedings and judgments in the course of

discharging their traditional responsibilities.”).

     Here, the Court finds that the equities strongly favor Ms.

Ozturk’s transfer to Vermont. Such transfer will expedite

resolution of this matter, provide Ms. Ozturk ready access to

legal and medical services, and address concerns about the

conditions of her confinement. The Court further finds that a

transfer to Vermont will not prejudice the government’s removal

proceedings, as she may participate in those remotely. The Court

plans to proceed to resolution of the habeas petition quickly,

and it is essential that Ms. Ozturk be a full participant in the

process. Should her petition be denied, the government will have

discretion over her place of confinement. Accordingly, pursuant

to its inherent equitable power, as well its power under the All

Writs Act, the Court orders Ms. Ozturk’s transfer as set forth

below. See 28 U.S.C. § 1651(a) (empowering courts to “issue all

writs necessary or appropriate in aid of their respective

jurisdictions and agreeable to the usages and principles of

law”).

     B. Ms. Ozturk’s Return to Vermont Will Give Effect to the
        District of Massachusetts Court’s Order Preserving the
        Status Quo



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     The United States District Court for the District of

Massachusetts issued a valid order in this case at approximately

10:55 p.m. on March 25, 2025. The order was transmitted to the

government immediately, both formally by the court and by Ms.

Ozturk’s attorney. ECF No. 26-2 at 3. The order had been issued

by the court within an hour of Ms. Ozturk’s attorney filing the

initial habeas petition.

     The purpose of the District of Massachusetts’ order was to

“order respondent to preserve the status quo.” ECF No. 3 at 2.

The order had immediate effect and required that “petitioner

shall not be moved outside the District of Massachusetts without

first providing advance notice of the intended move.” Moreover,

the court clearly understood that Ms. Ozturk’s physical location

was critical to the court’s jurisdiction. The court noted that

the order was intended to preserve its ability “to consider

whether it has subject-matter jurisdiction,” and would be “valid

unless and until it is overturned.” Id. The court further

clarified that the motivation for the order was the court’s

recognition that “the action the court enjoins,” i.e., Ms.

Ozturk’s movement out of the state by the government, “would

otherwise destroy its jurisdiction or moot the case.” Id.

     The government apparently did not take any immediate steps

to comply with the order or to communicate with the court to

ascertain the court’s intent. At oral argument, the government

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was not able to say who learned about the order or when. The

government’s only argument to date has been that the order may

have been impossible to comply with if construed literally,

because by 10:55 p.m., the government had already moved Ms.

Ozturk to Vermont. There is no evidence that officials in the

U.S. Attorney’s Office in Massachusetts who were in contact with

Ms. Ozturk’s attorney at the time and received the order, or

indeed any other government representatives, made contact with

the court to convey this perceived predicament.

     Ms. Ozturk cites Second Circuit precedent stating that it

is the obligation of parties receiving orders from Article III

courts “to observe the objects for which the relief was granted

and to find a breach of the decree in a violation of the spirit

of the injunction, even though its strict letter may not have

been disregarded.” John B. Stetson Co. v. Stephen L. Stetson

Co., 128 F.2d 981, 983 (2d Cir. 1942). Stetson remains good law

in this Circuit, standing for the proposition that “‘it is the

spirit of the order, not the letter, that must be obeyed.’”

Aquavit Pharms., Inc. v. U-Bio Med, Inc., 2020 WL 1900502, at *6

(S.D.N.Y. Apr. 17, 2020) (quoting Titra California, Inc. v.

Titra Film, 2001 WL 1382587, at *5 (S.D.N.Y. Nov. 6, 2001)); see

also Salazar v. Buono, 559 U.S. 700, 762 (2010) (Breyer, J.

dissenting) (citing Stetson for proposition that courts have

long looked to the intent of granted injunctive relief when

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assessing compliance). The Court agrees that it is appropriate

to consider whether parties have complied with the spirit of an

injunction, where that spirit is readily discernible from an

order.

     There is no question here that the District of

Massachusetts intended to preserve the status quo of Ms.

Ozturk’s whereabouts while it assessed its jurisdiction to

consider the case. The government of course had already moved

Ms. Ozturk out of state, so that jurisdictional analysis may

have still resulted in the case being heard before this Court.

Nevertheless, the Court holds that after receipt of the order,

the government had an obligation to consider the intent of the

order, even if literal compliance with the order was impossible.

Ms. Ozturk has offered alternative potential actions that the

government could have taken upon receipt of the order, in lieu

of ignoring it entirely. ECF No. 82-1 at 22-23. At minimum, the

government should have informed the issuing court in a timely

fashion that compliance with the order was not literally

possible and sought out clarification. Informing the District of

Massachusetts would have allowed for that court to make any

necessary modifications to either its order or its determination

of its jurisdiction. Ignoring an order, particularly one issued

on an emergency basis in response to events that are currently



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unfolding, is not the approach the Court expects from the

government.

     The remedy for the government ignoring the March 25, 2025,

order is simple. Ms. Ozturk should be returned to the status quo

at the time of issuance when she was in custody in the District

of Vermont. This equitable relief, ordered under this Court’s

inherent habeas power, will give proximate effect to the

District of Massachusetts’s order without disadvantaging the

government. Giving effect to the spirit of the District of

Massachusetts’ order is also necessary to ensure continued

respect for orders issued by Article III courts. “If a party can

make himself a judge of the validity of orders which have been

issued, and by his own act of disobedience set them aside, then

are the courts impotent, and what the Constitution now fittingly

calls the ‘judicial power of the United States' would be a mere

mockery.” Gompers v. Buck's Stove & Range Co., 221 U.S. 418, 450

(1911). The Court declines to abet a slide into mockery in this

case.

                                 Conclusion

     For the foregoing reasons, the Court concludes that this

case will continue in this Court with Ms. Ozturk physically

present for the remainder of the proceedings.

     The Court has determined that it retains jurisdiction over

Ms. Ozturk’s habeas petition which shall proceed in the District

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of Vermont. The petition, filed in federal district court in

Massachusetts, was properly transferred to this Court. There are

no technical deficiencies that prevent this Court’s

consideration of this petition as if it were originally filed

here. Furthermore, there is nothing in the INA that

categorically prevents a federal district court from reviewing a

habeas petition challenging discretionary detention. Therefore,

there are no jurisdictional limitations on this Court’s

consideration of Ms. Ozturk’s habeas claims related to her

detention.

     Upon review of the First Amendment and Due Process claims

and the evidence presented by both parties, the Court concludes

that Ms. Ozturk has presented viable and serious habeas claims

which warrant urgent review on the merits. The Court plans to

move expeditiously to a bail hearing and final disposition of

the habeas petition, as Ms. Ozturk’s claims require no less.

     To support the Court’s resolution of these issues, the

Court orders that Ms. Ozturk be physically transferred to ICE

custody within the District of Vermont no later than May 1,

2025. The Court orders that a bail hearing be scheduled in this

Court for May 9, 2025, with Ms. Ozturk appearing in person.

Parties are ordered to brief the Court and present all evidence

related to the issue of bail by May 2, 2025. A hearing on the

merits of the habeas petition will be held on May 22, 2025. The

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Court stays the effect of this order for four days to allow

either party to appeal this order.



     DATED at Burlington, in the District of Vermont, this 18th

day of April 2025.

                                         /s/ William K. Sessions III
                                         Hon. William K. Sessions III
                                         U.S. District Court Judge
